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   8
                                UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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  11       NAK KIM CHHOEUN, et al.                 Case No. 8:17-cv-01898-CJC (GJSx)
                                                   Assigned to: Hon. Cormac J. Carney;
  12                   Petitioners,                Hon. Gail J. Standish, U.S. Magistrate
                                                   Judge
  13             v.
  14       DAVID MARIN, Field Office               STIPULATED PROTECTIVE
           Director, Los Angeles Field Office,     ORDER1
  15       United States Immigration and
           Customs Enforcement, et al.
  16
                       Respondents.
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        This Stipulated Protective Order is substantially based on the model protective
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       order provided under Magistrate Judge Gail J. Standish’s Procedures.
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   1
       1.    A. PURPOSES AND LIMITATIONS
   2
             Discovery in this action is likely to involve production of confidential,
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       proprietary or private information for which special protection from public
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       disclosure and from use for any purpose other than prosecuting this litigation may
   5
       be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
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       enter the following Stipulated Protective Order. The parties acknowledge that this
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       Order does not confer blanket protections on all disclosures or responses to
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       discovery and that the protection it affords from public disclosure and use extends
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       only to the limited information or items that are entitled to confidential treatment
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       under the applicable legal principles.
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  12
             B. GOOD CAUSE STATEMENT
  13
             This action is likely to involve information implicating privacy rights,
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       personal information covered by the Privacy Act, 5 U.S.C. § 552a, or information
  15
       otherwise protected from disclosure under state or federal statutes, court rules, case
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       decisions, or common law, for which special protection from public disclosure and
  17
       from use for any purpose other than prosecution of this action is warranted. For
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       example, in addition to information covered by the Privacy Act, the action may
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       involve information protected by 8 U.S.C. § 1367(a)(2) or 8 C.F.R. § 208.6.
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       Accordingly, to expedite the flow of information, to facilitate the prompt resolution
  21
       of disputes over confidentiality of discovery materials, to adequately protect
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       information the parties are entitled to keep confidential, to ensure that the parties are
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       permitted reasonable necessary uses of such material in preparation for and in the
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       conduct of trial, to address their handling at the end of the litigation, and serve the
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       ends of justice, a protective order for such information is justified in this matter. It
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       is the intent of the parties that information will not be designated as confidential for
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   1   tactical reasons and that nothing be so designated without a good faith belief that it
   2   has been maintained in a confidential, non-public manner.
   3

   4         C. ACKNOWLEDGMENT OF PROCEDURE FOR FILING UNDER SEAL
   5           The parties further acknowledge, as set forth in Section 12.3, below, that this
   6   Stipulated Protective Order does not entitle them to file confidential information
   7   under seal; Local Civil Rule 79-5 sets forth the procedures that must be followed
   8   and the standards that will be applied when a party seeks permission from the court
   9   to file material under seal.
  10         There is a strong presumption that the public has a right of access to judicial
  11   proceedings and records in civil cases. In connection with non-dispositive motions,
  12   good cause must be shown to support a filing under seal. See Kamakana v. City and
  13   County of Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006), Phillips v. Gen. Motors
  14   Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002), Makar-Welbon v. Sony Electrics,
  15   Inc., 187 F.R.D. 576, 577 (E.D. Wis. 1999) (even stipulated protective orders
  16   require good cause showing), and a specific showing of good cause or compelling
  17   reasons with proper evidentiary support and legal justification, must be made with
  18   respect to Protected Material that a party seeks to file under seal. The parties’ mere
  19   designation of Disclosure or Discovery Material as CONFIDENTIAL does not—
  20   without the submission of competent evidence by declaration, establishing that the
  21   material sought to be filed under seal qualifies as confidential, privileged, or
  22   otherwise protectable—constitute good cause.
  23         Further, if a party requests sealing related to a dispositive motion or trial, then
  24   compelling reasons, not only good cause, for the sealing must be shown, and the
  25   relief sought shall be narrowly tailored to serve the specific interest to be protected.
  26   See Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 677-79 (9th Cir. 2010). For
  27   each item or type of information, document, or thing sought to be filed or introduced
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   1   under seal in connection with a dispositive motion or trial, the party seeking
   2   protection must articulate compelling reasons, supported by specific facts and legal
   3   justification, for the requested sealing order. Again, competent evidence supporting
   4   the application to file documents under seal must be provided by declaration.
   5         Any document that is not confidential, privileged, or otherwise protectable in
   6   its entirety will not be filed under seal if the confidential portions can be redacted.
   7   If documents can be redacted, then a redacted version for public viewing, omitting
   8   only the confidential, privileged, or otherwise protectable portions of the document,
   9   shall be filed. Any application that seeks to file documents under seal in their
  10   entirety should include an explanation of why redaction is not feasible.
  11

  12   2.    DEFINITIONS
  13         2.1    Action: this pending federal lawsuit.
  14         2.2    Challenging Party: a Party or Non-Party that challenges the
  15   designation of information or items under this Order.
  16         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  17   how it is generated, stored, or maintained) or tangible things that qualify for
  18   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  19   the Good Cause Statement.
  20         2.5    Designating Party: a Party or Non-Party that designates information or
  21   items that it produces in disclosures or in responses to discovery as
  22   “CONFIDENTIAL.”
  23         2.6    Disclosure or Discovery Material: all items or information, regardless
  24   of the medium or manner in which it is generated, stored, or maintained (including,
  25   among other things, testimony, transcripts, and tangible things), that are produced or
  26   generated in disclosures or responses to discovery in this matter.
  27         2.7    Expert: a person with specialized knowledge or experience in a matter
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   1   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   2   an expert witness or as a consultant in this Action.
   3          2.9   Non-Party: any natural person, partnership, corporation, association, or
   4   other legal entity not named as a Party to this action.
   5          2.10 Counsel of Record: attorneys who are not employees of a party to this
   6   Action but are retained to represent or advise a party to this Action and have
   7   appeared in this Action on behalf of that party or are affiliated with a law firm that
   8   has appeared on behalf of that party, and includes support staff.
   9          2.11 Party: any party to this Action, including all of its officers, directors,
  10   employees, consultants, retained experts, and Counsel of Record (and their support
  11   staffs).
  12          2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  13   Discovery Material in this Action.
  14          2.13 Professional Vendors: persons or entities that provide litigation
  15   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
  16   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  17   and their employees and subcontractors.
  18          2.14 Protected Material: any Disclosure or Discovery Material that is
  19   designated as “CONFIDENTIAL.”
  20          2.15 Receiving Party: a Party that receives Disclosure or Discovery
  21   Material from a Producing Party.
  22

  23   3.     SCOPE
  24          The protections conferred by this Stipulation and Order cover not only
  25   Protected Material (as defined above), but also (1) any information copied or
  26   extracted from Protected Material; (2) all copies, excerpts, summaries, or
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   1   compilations of Protected Material; and (3) any testimony, conversations, or
   2   presentations by Parties or their Counsel that might reveal Protected Material.
   3         Any use of Protected Material at trial shall be governed by the orders of the
   4   trial judge. This Order does not govern the use of Protected Material at trial.
   5

   6   4.    DURATION
   7         Once a case proceeds to trial, information that was designated as
   8   CONFIDENTIAL or maintained pursuant to this protective order used or introduced
   9   as an exhibit at trial becomes public and will be presumptively available to all
  10   members of the public, including the press, unless compelling reasons supported by
  11   specific factual findings to proceed otherwise are made to the trial judge in advance
  12   of the trial. See Kamakana, 447 F.3d at 1180-81 (distinguishing “good cause”
  13   showing for sealing documents produced in discovery from “compelling reasons”
  14   standard when merits-related documents are part of court record). Accordingly, the
  15   terms of this protective order do not extend beyond the commencement of the trial.
  16

  17   5.    DESIGNATING PROTECTED MATERIAL
  18         5.1    Exercise of Restraint and Care in Designating Material for Protection.
  19         Each Party or Non-Party that designates information or items for protection
  20   under this Order must take care to limit any such designation to specific material
  21   that qualifies under the appropriate standards. The Designating Party must
  22   designate for protection only those parts of material, documents, items, or oral or
  23   written communications that qualify so that other portions of the material,
  24   documents, items, or communications for which protection is not warranted are not
  25   swept unjustifiably within the ambit of this Order.
  26         Mass, indiscriminate, or routinized designations are prohibited. Designations
  27   that are shown to be clearly unjustified or that have been made for an improper
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   1   purpose (e.g., to unnecessarily encumber the case development process or to impose
   2   unnecessary expenses and burdens on other parties) may expose the Designating
   3   Party to sanctions.
   4         If it comes to a Designating Party’s attention that information or items that it
   5   designated for protection do not qualify for protection, that Designating Party must
   6   promptly notify all other Parties that it is withdrawing the inapplicable designation.
   7         5.2      Manner and Timing of Designations. Except as otherwise provided in
   8   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
   9   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  10   under this Order must be clearly so designated before the material is disclosed or
  11   produced.
  12         Designation in conformity with this Order requires:
  13               (a) for information in documentary form (e.g., paper or electronic
  14   documents, but excluding transcripts of depositions or other pretrial or trial
  15   proceedings), that the Producing Party affix at a minimum, the legend
  16   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  17   contains protected material. If only a portion of the material on a page qualifies for
  18   protection, the Producing Party also must clearly identify the protected portion(s)
  19   (e.g., by making appropriate markings in the margins).
  20         A Party or Non-Party that makes original documents available for inspection
  21   need not designate them for protection until after the inspecting Party has indicated
  22   which documents it would like copied and produced. During the inspection and
  23   before the designation, all of the material made available for inspection shall be
  24   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  25   documents it wants copied and produced, the Producing Party must determine which
  26   documents, or portions thereof, qualify for protection under this Order. Then,
  27   before producing the specified documents, the Producing Party must affix the
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   1   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a
   2   portion of the material on a page qualifies for protection, the Producing Party also
   3   must clearly identify the protected portion(s) (e.g., by making appropriate markings
   4   in the margins).
   5               (b) for testimony given in depositions that the Designating Party identifies
   6   the Disclosure or Discovery Material on the record, before the close of the
   7   deposition all protected testimony.
   8               (c) for information produced in some form other than documentary and
   9   for any other tangible items, that the Producing Party affix in a prominent place on
  10   the exterior of the container or containers in which the information is stored the
  11   legend “CONFIDENTIAL.” If only a portion or portions of the information
  12   warrants protection, the Producing Party, to the extent practicable, shall identify the
  13   protected portion(s).
  14         5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
  15   failure to designate qualified information or items does not, standing alone, waive
  16   the Designating Party’s right to secure protection under this Order for such material.
  17   Upon timely correction of a designation, the Receiving Party must make reasonable
  18   efforts to assure that the material is treated in accordance with the provisions of this
  19   Order.
  20

  21   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  22         6.1      Timing of Challenges. Any Party or Non-Party may challenge a
  23   designation of confidentiality at any time that is consistent with the Court’s
  24   Scheduling Order.
  25         6.2      Meet and Confer. The Challenging Party shall initiate the dispute
  26   resolution process under Local Rule 37.1 et seq. and if applicable, schedule a pre-
  27   discovery motion telephonic conference with the Court prior to filing a discovery
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   1   motion, as set forth in the Judges’ Procedures, Discovery Motions, available at
   2   http://www.cacd.uscourts.gov/honorable-gail-j-standish.
   3         6.3    The burden of persuasion in any such challenge proceeding shall be on
   4   the Designating Party. Frivolous challenges, and those made for an improper
   5   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
   6   parties) may expose the Challenging Party to sanctions. Unless the Designating
   7   Party has waived or withdrawn the confidentiality designation, all parties shall
   8   continue to afford the material in question the level of protection to which it is
   9   entitled under the Producing Party’s designation until the Court rules on the
  10   challenge.
  11

  12   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  13         7.1    Basic Principles. A Receiving Party may use Protected Material that is
  14   disclosed or produced by another Party or by a Non-Party in connection with this
  15   Action only for prosecuting, defending, or attempting to settle this Action, or as
  16   required by statute. Such Protected Material may be disclosed only to the categories
  17   of persons and under the conditions described in this Order. When the Action has
  18   been terminated, a Receiving Party must comply with the provisions of section 13
  19   below (FINAL DISPOSITION).
  20         Protected Material must be stored and maintained by a Receiving Party at a
  21   location and in a secure manner that ensures that access is limited to the persons
  22   authorized under this Order.
  23         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  24   otherwise ordered by the court or permitted in writing by the Designating Party, a
  25   Receiving Party may disclose any information or item designated
  26   “CONFIDENTIAL” only to:
  27         (a)    The proposed member of the class or member of the class if the class is
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 1   certified, to whom the “CONFIDENTIAL” information specifically pertains, but
 2   unless the “CONFIDENTIAL” information pertains exclusively to that individual,
 3   not unless the individual signs the “Acknowledgement and Agreement to Be
 4   Bound” (Exhibit A);
 5         (b)    Counsel providing individual representation to the proposed members
 6   of the class or members of the class if the class is certified, but only as to
 7   “CONFIDENTIAL” information pertaining to the proposed class member or class
 8   member;
 9         (c)    the Receiving Party’s Counsel of Record in this Action, as well as
10   employees, volunteer attorneys or interns of said Counsel of Record to whom it is
11   reasonably necessary to disclose the information for this Action ;
12         (d)    the officers, directors, and employees of the Receiving Party to whom
13   disclosure is reasonably necessary for this Action;
14         (e)    Experts (as defined in this Order) of the Receiving Party to whom
15   disclosure is reasonably necessary for this Action and who have signed the
16   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
17         (f)    the court and its personnel;
18         (g)    court reporters and their staff;
19         (h)    professional jury or trial consultants, mock jurors, and Professional
20   Vendors to whom disclosure is reasonably necessary for this Action and who have
21   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
22         (i)    the author or recipient of a document containing the information or a
23   custodian or other person who otherwise possessed or knew the information;
24         (j)    during their depositions, witnesses, and attorneys for witnesses, in the
25   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
26   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
27   not be permitted to keep any confidential information unless they sign the
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 1   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
 2   agreed by the Designating Party or ordered by the court. Pages of transcribed
 3   deposition testimony or exhibits to depositions that reveal Protected Material may
 4   be separately bound by the court reporter and may not be disclosed to anyone except
 5   as permitted under this Stipulated Protective Order; and
 6         (k)      any mediator or settlement officer, and their supporting personnel,
 7   mutually agreed upon by any of the parties engaged in settlement discussions.
 8

 9   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
10         IN OTHER LITIGATION
11         If a Party is served with a subpoena or a court order issued in other litigation
12   that compels disclosure of any information or items designated in this Action as
13   “CONFIDENTIAL,” that Party must:
14               (a) promptly notify in writing the Designating Party. Such notification
15   shall include a copy of the subpoena or court order;
16               (b) promptly notify in writing the party who caused the subpoena or order
17   to issue in the other litigation that some or all of the material covered by the
18   subpoena or order is subject to this Protective Order. Such notification shall include
19   a copy of this Stipulated Protective Order; and
20               (c) cooperate with respect to all reasonable procedures sought to be
21   pursued by the Designating Party whose Protected Material may be affected.
22         If the Designating Party timely seeks a protective order, the Party served with
23   the subpoena or court order shall not produce any information designated in this
24   action as “CONFIDENTIAL” before a determination by the court from which the
25   subpoena or order issued, unless the Party has obtained the Designating Party’s
26   permission. The Designating Party shall bear the burden and expense of seeking
27   protection in that court of its confidential material and nothing in these provisions
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 1   should be construed as authorizing or encouraging a Receiving Party in this Action
 2   to disobey a lawful directive from another court.
 3

 4   9.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 5         PRODUCED IN THIS LITIGATION
 6             (a) The terms of this Order are applicable to information produced by a
 7   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 8   produced by Non-Parties in connection with this litigation is protected by the
 9   remedies and relief provided by this Order. Nothing in these provisions should be
10   construed as prohibiting a Non-Party from seeking additional protections.
11             (b) In the event that a Party is required, by a valid discovery request, to
12   produce a Non-Party’s confidential information in its possession, and the Party is
13   subject to an agreement with the Non-Party not to produce the Non-Party’s
14   confidential information, then the Party shall:
15                (1) promptly notify in writing the Requesting Party and the Non-Party
16   that some or all of the information requested is subject to a confidentiality
17   agreement with a Non-Party;
18                (2) promptly provide the Non-Party with a copy of the Stipulated
19   Protective Order in this Action, the relevant discovery request(s), and a reasonably
20   specific description of the information requested; and
21                (3) make the information requested available for inspection by the
22   Non-Party, if requested.
23             (c) If the Non-Party fails to seek a protective order from this court within
24   14 days of receiving the notice and accompanying information, the Receiving Party
25   may produce the Non-Party’s confidential information responsive to the discovery
26   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
27   not produce any information in its possession or control that is subject to the
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 1   confidentiality agreement with the Non-Party before a determination by the court.
 2   Absent a court order to the contrary, the Non-Party shall bear the burden and
 3   expense of seeking protection in this court of its Protected Material.
 4

 5   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 6         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 7   Protected Material to any person or in any circumstance not authorized under this
 8   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 9   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
10   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
11   persons to whom unauthorized disclosures were made of all the terms of this Order,
12   and (d) request such person or persons to execute the “Acknowledgment and
13   Agreement to Be Bound” that is attached hereto as Exhibit A.
14

15   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
16         PROTECTED MATERIAL
17         When a Producing Party gives notice to Receiving Parties that certain
18   inadvertently produced material is subject to a claim of privilege or other protection,
19   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
20   Procedure 26(b)(5)(B). This provision is not intended to modify whatever
21   procedure may be established in an e-discovery order that provides for production
22   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
23   (e), insofar as the parties reach an agreement on the effect of disclosure of a
24   communication or information covered by the attorney-client privilege or work
25   product protection, the parties may incorporate their agreement in the stipulated
26   protective order submitted to the court.
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 1   12.   MISCELLANEOUS
 2         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
 3   person to seek its modification by the Court in the future.
 4         12.2 Right to Assert Other Objections. By stipulating to the entry of this
 5   Protective Order, no Party waives any right it otherwise would have to object to
 6   disclosing or producing any information or item on any ground not addressed in this
 7   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 8   ground to use in evidence of any of the material covered by this Protective Order.
 9         12.3 Filing Protected Material. A Party that seeks to file under seal any
10   Protected Material must comply with Local Civil Rule 79-5. Protected Material
11   may only be filed under seal pursuant to a court order authorizing the sealing of the
12   specific Protected Material at issue. If a Party’s request to file Protected Material
13   under seal is denied by the court, then the Receiving Party may file the information
14   in the public record unless otherwise instructed by the court.
15

16   13.   FINAL DISPOSITION
17         After the final disposition of this Action, as defined in paragraph 4, within 60
18   days of a written request by the Designating Party, each Receiving Party must return
19   all Protected Material to the Producing Party or destroy such material. As used in
20   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
21   summaries, and any other format reproducing or capturing any of the Protected
22   Material. Whether the Protected Material is returned or destroyed, if requested by
23   any Party, the Receiving Party must submit a written certification to the Producing
24   Party (and, if not the same person or entity, to the Designating Party) by the 60 day
25   deadline that (1) identifies (by category, where appropriate) all the Protected
26   Material that was returned or destroyed and (2) affirms that the Receiving Party has
27   not retained any copies, abstracts, compilations, summaries or any other format
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 1   reproducing or capturing any of the Protected Material. Parties may retain Protected
 2   Material for government record retention purposes as required by statute, but only
 3   under conditions that maintain the confidentiality of the information in accordance
 4   with this Protective Order. Notwithstanding this provision, Counsel are entitled to
 5   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
 6   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
 7   reports, attorney work product, and consultant and expert work product, even if such
 8   materials contain Protected Material. Any such archival copies that contain or
 9   constitute Protected Material remain subject to this Protective Order as set forth in
10   Section 4 (DURATION).
11

12   14.   VIOLATION
13   Any violation of this Order may be punished by appropriate measures including,
14   without limitation, contempt proceedings and/or monetary sanctions.
15

16   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
17

18
     Date: April 4, 2018                            Respectfully submitted,
19

20                                                  /s/ Jingni Zhao
                                                    Jingni (Jenny) Zhao
21                                                  Anoop Prasad
                                                    Kevin Chun Hoi Lo
22                                                  Melanie Chun-Yu Kim
                                                    Winifred Kao
23                                                  ASIAN AMERICANS ADVANCING
                                                    JUSTICE –
24                                                  ASIAN LAW CAUCUS
25                                                  /s/ Laboni Hoq
                                                    Laboni Hoq
26                                                  Nicole Gon Ochi
                                                    Christopher Lapinig
27                                                  ASIAN AMERICANS ADVANCING
                                                    JUSTICE – LOS ANGELES
28
                                               14
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 1                                             /s/ Darlene Cho
                                               Michael L. Mallow
 2                                             Sean A. Commons
                                               Darlene Cho
 3                                             Naomi Igra
                                               Angela Makabali
 4                                             Katelyn Rowe
                                               SIDLEY AUSTIN LLP
 5
                                               /s/ Lee Gelernt
 6                                             Lee Gelernt
                                               Judy Rabinovitz
 7                                             Anand Balakrishnan
                                               ACLU FOUNDATION IMMIGRANTS’
 8                                             RIGHTS PROJECT
 9                                             Attorneys for Petitioners
10

11
     Dated: April 4, 2018                      Chad A. Readler
12                                             William C. Peachey
                                               Timothy M. Belsan
13
                                         By: /s/ Troy D. Liggett
14                                          Troy D. Liggett
                                            Joseph F. Carilli, Jr.
15                                          Julian M. Kurz
                                            OFFICE OF IMMIGRATION
16                                          LITIGATION
                                            U.S. DEPARTMENT OF JUSTICE
17
                                               Attorneys for Respondents
18

19

20

21   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
22

23   DATED: April 20, 2018
24

25

26   _____________________________________
     GAIL J. STANDISH
27   UNITED STATES MAGISTRATE JUDGE
28
                                          15
Case 8:17-cv-01898-CJC-GJS Document 121 Filed 04/20/18 Page 17 of 17 Page ID
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 1                                         EXHIBIT A
 2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4   I, _____________________________ [print or type full name], of
 5   _________________ [print or type full address], declare under penalty of perjury
 6   that I have read in its entirety and understand the Stipulated Protective Order that
 7   was issued by the United States District Court for the Central District of California
 8   on [date] in the case of Chhoeun, et al. v. Marin, et al., case number 8:17-cv-01898-
 9   CJC (GJSx). I agree to comply with and to be bound by all the terms of this
10   Stipulated Protective Order and I understand and acknowledge that failure to so
11   comply could expose me to sanctions and punishment in the nature of contempt. I
12   solemnly promise that I will not disclose in any manner any information or item that
13   is subject to this Stipulated Protective Order to any person or entity except in strict
14   compliance with the provisions of this Order.
15   I further agree to submit to the jurisdiction of the United States District Court for the
16   Central District of California for enforcing the terms of this Stipulated Protective
17   Order, even if such enforcement proceedings occur after termination of this action.
18   I hereby appoint __________________________ [print or type full name] of
19   _______________________________________ [print or type full address and
20   telephone number] as my California agent for service of process in connection with
21   this action or any proceedings related to enforcement of this Stipulated Protective
22   Order.
23   Date: ______________________________________
24   City and State where sworn and signed: _________________________________
25

26   Printed name: _______________________________
27   Signature: __________________________________
28
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